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                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

  TRACI SHAW,                                   :
                                                :
                 Plaintiff,                     :      CASE NO.: 2:23-cv-942
                                                :
  vs.                                           :       JUDGE GRAHAM
                                                :
  RICHARD WOZNIAK, et al.,                      :      MAGISTRATE JUDGE DEAVERS
                                                :
                 Defendants.                    :

                                NOTICE OF DEPOSITION

         Please take notice that on Thursday, February 1, 2024, starting at 10:00 a.m.,

  counsel for Plaintiff Traci Shaw will take the discovery deposition of Mr. Stephen Zenner

  at the office of Isaac Wiles, 2 Miranova Place #700, Columbus, Ohio 43215.

         This discovery deposition shall be taken before a notary public authorized to

  administer an oath in the State of Ohio for the purposes of discovery and use at trial. This

  discovery deposition shall continue from time to time and place to place until completed.

                                        Respectfully submitted,


                                        _/s/ David A. Goldstein____________
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                                        Attorney for Plaintiff Traci Shaw
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                              CERTIFICATE OF SERVICE


         I hereby certify that a copy of the foregoing document has been sent by electronic

  mail this 17th day of January 2024 to Molly Gwin, Esq., Michael Loughry, Esq., Charles

  Schneider, Esq., Attorneys for Defendants.



                                               /s/ David A. Goldstein_____       _
                                               DAVID A. GOLDSTEIN (0064461)
                                               Attorney for Plaintiff Traci Shaw




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